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                                              CONTRATO DE PRESTAMO


                      DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

               PARA PUERTO RICO, una corporaci6n publica del Gobierno de Puerto Rico, creada

               en virtud de la Ley Numero 17 de 23 de septiembre de 1948, segun enmendada,

               representado en este acto por su Vicepresidente Ejecutivo y Agente Fiscal,

               Jorge A. Oivilles Diaz, mayor de edad, casado, ejecutivo y residente de San Juan,

               Puerto Rico (en adelante, el 11 BANC01).

                      DE LA SEGUNDA PARTE: La AUTORIDAD DE CARRETERAS Y

               TRANSPORTACTON DE PUERTO RICO, una entidad jurfdica creada en virtud de la

               Ley Num. 74 de 23 de junio de 1965, segun enmendada, (la "AUTORIDAD")

               representada en este acto por Cesar M. Gandiaga Texidor, Director Ejecutivo Auxiliar

               para Admmistraci6n y Finanzas, quien es mayor de edad, casado, contable y vecino

               de San Juan, Puerto Rico, y quien esta debidamente autorizado a comparecer en este

               acto por virtud de la Resoluci6n 2014-01 suscrita el 16 de enero de 2013 por

               Miguel A. Torres Diaz, Secretario del Departamento de Transportaci6n y

               Obras Publicas.

                     DE LA TERCERA PARTE:                 El DEPARTAMENTO DE HACIENDA, un

               departamento ejecutivo creado por la Secci6n 6 del Articulo IV de la Constituci6n del

               Estado Libre Asociado de Puerto Rico, en adelante denominada "HACIENDA",

               representada por su Secretaria, Melba Acosta Febo, mayor de edad, soltera, y vecina

               de San Juan, Puerto Rico, quien comparece a los unicos fines de indicar su

               conocimiento y cumplimiento con que los fondos para el pago de la LINEA DE

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                CREDITO aquf concedida por el BANCO a la AUfORIDAD se transfieran

                directamente al BANCO.

                EXPONEN

                     POR CUANTO: La AUfORlDAD ha informado al BANCO que, al

               31 de didembre de 2013, adeuda Ia cantidad de $24,096,000 a la compafiia Alternative

                Concepts, Inc., operador deI Tren Urbano. La AUTORIDAD interesa obtener un

               financiamiento para sufragar los gastos operacionales acrecidos por concepto de la

               operaci6n del Tren Urbano y rebajar dicha cantidad adeudada de manera tal que los

               servicios no sean interrumpidos.

                     POR CUANTO: En atenci6n a Ia solicitud de la AUTORIDAD, el 15 de enero de

               2014, la Junta de Directores del BANCO aprob6 la Resoluci6n Num. 10235 (en adelante,

               la "Resoluci6n 10235") para conceder a Ia AUTORJDAD una lfnea de credito no

               rotativa hasta un maximo de QUINCE MILLONES DE DOLARES ($15,.000,.000).

                     POR CUANTO: De conformidad con Ia Resoluci6n Num. 2014-01 emitida el

               16 de enero de 2014 por la Junta de Directores de la AUTORIDAD, la AUTORIDAD

               ha aceptado los terminos y condiciones establecidos por el BANCO en la

               Resoluci6n 10235.

                     POR LO QUE, en considerad6n a los hechos afirmados anteriormente y a las

               representaciones, acuerdos y garantias que mas adelante se exponen, las partes

               comparecientes acuerdan y convienen otorgar este CONTRATO DE PRESTAMO.




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                                                       ARTiCULOl.

                                                       PRESTAMO

                1.1    Linea de Credito:

                       Una vez se otorguen y suscriban los DOCUMENTOS LEGALES que se

                relacionan en el Articulo 4.1 de este CONTRATO DE PRESTAMO, el BANCO

                extendera a la AUTORIDAD una LINEA DE CREDITO no rotatoria por la cantidad

                maxima de principal QUINCE MILLONES DE DOLARES ($15,000,.000) para sufragar

                gastos operacionales por concepto de la operaci6n del Tren Urbano.

                       La LINEA DE CREDITO estara evidenciada por un P AGARE por la suma

                principal de QUINCE MILLONES DE DOLARES ($15,000,.000), suscrito en la misma

                fecha que este CONTRATO DE PRESTAMO y pagaderos a la orden del BANCO.

                       El dinero proveniente de la LINEA DE CREDITO s6lo podra ser utilizado

                para los prop6sitos antes expuestos.

                1.2   Tasa de Interes:

                       La AUTORIDAD acuerda y conviene pagar los intereses devengados sobre los

                desembolsos de la LINEA DE CREDITO computados sobre la tasa Prime Rate mas

                150 puntos base, la cual nunca sera menor de seis por ciento (6% ), ni mayor de doce por

                ciento (12%), o cualquier otra tasa de interes que determine el Presidente del BANCO o

                su designado, de acuerdo con el mercado de tasas de interes. Los intereses seran

                pagaderos al vencimiento de la LINEA DE CREDITO.

                      Si en la fecha de vencimiento de la obligaci6n de repago la AUTORIDAD no ha

                pagado el balance insoluto del principal, la AUTORIDAD pagara intereses sobre dicha


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        suma computados a base de 200 puntos base sobre la tasa que le aplicaria bajo este

        CONTRATO DE PRESTAMO.

        1.3   Termino y Fuente de Pago:

              El pago de principal e intereses de la LINEA DE CREDITO vencera al 30 de

        junio 2015. El .Presidente del BANCO podra, a su entera discreci6n, extender el

        vencimiento de la LINEA DE CREDITO por 120 dfas adicionales.

              La fuente de pago seran (a) a partir del 1 de julio de 2014, los primeros

        $15,000,000 provenientes de los ingresos generados por concepto de las multas de

        transito recaudados por el Departamento de Hacienda, mas la porci6n

        correspondiente para el pago de los int~eses acumulados, y (b) ingresos propios de

        la AUTORIDAD.

              La AUTORIDAD podra pagar la totalidad del prestamo en cualquier

       momento antes de su vencimiento sin penalidad o prima.

       1.4    Desembolsos:

              Previo al primer desembolso y para cada desembolso, la AUTORIDAD

       entregara al BANCO una certificaci6n original sustancialmente en la forma que se

       presenta en el Anejo A de este Contrato, firmada por el Director Ejecutivo de la

       AUTOR1DAD, o la persona que este designe, la cual evidenciara que la petici6n de

       desembolso cumple con los prop6sitos para los cuales fue aprobada la LINEA DE

       CREDITO. La AUTOR1DAD debera incluir, ademas, cualquier otra documentaci6n

       que el BANCO a su entera discreci6n le solicite previo al desembolso, induyendo,

       pero sin limitarse, a copias de facturas.


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              Los desembolsos bajo este financiamiento estan sujetos al cumpl:imiento de la

        AUTORIDAD con el Area de Agenda Fiscal del BANCO para las condiciones

        estipuladas en el Fiscal Oversight Agreement (FOA) que la AUTORIDAD tenga vigente

        con el BANCO.

        1.5   Cesi6n:

              Para horuar el pago del principal e intereses de la LINEA DE CREDITO, se

        dispone que el BANCO sera cesionario de los derechos sobre los ingresos generados

        por concepto de las multas de transito recaudados por el Departamento de Hacienda

        hasta la suma de principal de $15,000,000, mas la suma correspondiente a los

        intereses acumulados. A esos efectos, HACIENDA acuerda y conviene transferir las

       sumas antes indicadas directamente al BANCO para el repago del financiamiento.

                                          ARTICUL02.

                                  ACUERDOS AFIRMATIVOS

              La AUTORIDAD conviene y acuerda realizar los actos que se exponen a

       continuaci6n a partir de esta fecha y hasta el pago total y liquidaci6n final del

       principal y los intereses de la LfNEA DE CREDITO y cualquier otra obligaci6n con

       relaci6n a la misma, salvo que el BANCO consienta a lo contrario por escrito.

       2.1    Solicitud de Informad6n Adicional para Efectuar Desembolsos:

              El BANCO se reserva el derecho de solicitar a la AUTORIDAD cualquier

       informaci6n adicional que sea necesaria para emitir los desembolsos o para cualquier

       prop6sito relacionado con este CONTRATO DE PREST AMO o PAGARE.




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       2.2   Honorarios por Asesoria Finandera:

             La AUTORIDAD conviene y acuerda pagarle al BANCO la suma de Siete Mil

       Quinientos D6lares ($7,500), equivalentes a una veinteava parte (1/20) del uno por

       ciento (1 %), por concepto de honorarios correspondientes a esta transacci6n, segun la

       polftica vigente del BANCO, los cuales podran ser incluidos como parte de este

       financiamiento, de ser necesario.

       2.3   Causa de Incumplimiento:

             La AUTORIDAD notificara al BANCO de cualquier condici6n, hecho o suceso

       que pueda constituir causa de incumplimiento o en virtud de cuya notificaci6n o el

       mero transcurso del tiempo, o ambos, pueda constituir causa de incumplimiento,

       entregandole al BANCO una certificaci6n suscrita por uno de sus oficiales,

       especificando la naturaleza de dicha causa, tiempo durante el cual ha existido, y que

       curso de acci6n la AUTORIDAD se propane iniciar con relaci6n a los mismos. Tal

       notificaci6n debera ser cursada al BANCO dentro de los diez (10) dfas siguientes a la

       ocurrencia del incumplimiento.

       2.4   Pago de Gestiones Extrajudidales de Cobro, Honorarios, Gastos, etc.:

             A requerimiento del           BANCO, la   AUTORIDAD        debera reembolsar

       prontamente al BANCO el pago de las costas, gastos y honorarios de abogados

       incurridos por el BANCO en gestiones extrajudiciales de cobro de cualquier plazo en

       mora en relaci6n con la LINEA DE CREDITO adeudada por la AUTORIDAD. La

       omisi6n de la AUTORIDAD de reembolsar dichas costas, gastos y honorarios de

       abogados constituira causa de incumplimiento en la LINEA DE CREDITO.


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                          Dichas costas, gastos y honorarios de abogados incurridos por el BANCO de

                 conformidad con las disposiciones de este CONTRATO DE PRESTAMO seran

                 reembolsados por la AUTORIDAD de inmediato al serle requeridos.

                 2.5     Incumplimiento bajo los Documentos Legales:

                         La AUTORIDAD conviene que cualquier incumplimiento de los terminos del

                 P AGARE y / o la carta de compromiso, sera considerado simultaneamente

                 incumplimiento con este CONTRATO DE PREST AMO y viceversa, y de ocurrir el

                 mismo, el BANCO tendra inmediatamente el derecho de ejecutar cualesquiera de los

                derechos y privilegios que puedan conferir cualquiera de los DOCUMENTOS

                LEGALES.

                2.6      Autorlzad6n para Tomar Prestado:

                         La AUTORIDAD ha tornado las medidas apropiadas y necesarias, oficiales ode

                otro tipo, para autorizar el otorgamiento y entrega de los DOCUMENTOS LEGALES

                sin limitaci6n alguna.

                                                      ARTICUL03.

                                                 INCUMPLIMIENTOS

                3.1      Causas de Incumplimiento :

                         Cada una de las siguientes constituira una causa de incumplimiento bajo los

                terminos de este CONTRATO DE PRESTAMO:

                         3.1.1 si cualquier representaci6n dada o extendida por la AUTORIDAD al

                      BANCO en cualquiera de los tramites y DOCUMENTOS LEGALES, o si cualquier

                      informe, garantla o certificado financiero ode otra indole provisto al BANCO en

                      relaci6n con este CONTRATO DE PREST AMO resultare falso o engafioso;
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                      3.1.2     la falta de pago de principal e intereses y sus penalidades, si alguna,

                                de la LINEA DE CREDITO a su fecha de vencimiento de acuerdo con

                                los terminos de cualquiera de los DOCU1\.1ENTOS LEGALES;

                      3.1.3     el incumplimiento o violaci6n por la AUTORIDAD de cualquiera de

                                los terminos, clausulas y condiciones pactadas con el BANCO en los

                                DOCUMENTOS LEGALES; o

                      3.1.4     la omisi6n por la AUTORIDAD deremediar o subsanar dentro de un

                                plazo de treinta (30) dias de su ocurrencia, sin notificaci6n previa

                                escrita por parte del BANCO, cualquier incumplimiento a los

                                terminos, dausulas y condiciones de este CONTRATO DE

                                PRESTAMO.        Esto no aplica a los terminos y condiciones

                                relacionadas con las obligaciones de pago de la LfNEA DE

                                CREDITO, ya que la AUTORIDAD debera cumplir estrictamente con

                                dicho pago a su vencimiento.

                3.2   Remedios:

                      Ante la ocurrencia de cualquiera de las causas de incumplimiento enumeradas

                en el Articulo 3.1 de este CONTRATO DE PRESTAMO, y si dicho incumplimiento no

                es subsanado o remediado segun dispuesto, sin que sea necesario que medie

                notificaci6n alguna del incumplimiento, a cuyos derechos la AUTORIDAD mediante

                el presente otorgamiento renuncia, el BANCO podra:

                      3.2.1   proceder a reclamar el pago de! balance insoluto de Ia LINEA DE

                              CREDITO; o


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              3.2.2 radicar un procedimiento judicial solicitando el cumplimiento

                     especifico de cualquier term.mo, clausula o condici6n de cualquiera de

                     los DOCillvfENTOS LEGALES, o un entredicho (" injunction")

                     provisional o permanente para impedir que la AUTORIDAD viole

                     cualquiera de dichos terminos, clausulas y condiciones; o

              3.2.3 ejercitar cualquier otro remedio a que tenga derecho bajo las leyes del

                     Estado Libre Asociado de Puerto Rico.

              La AUTORIDAD autoriza al BANCO y le confiere poder, sin que se requiera

       notificaci6n alguna, para aplicar el derecho a compensaci6n (1'set-off1) a las obligaciones

       que se originan en este CONTRATO DE PRESTAMO, realizando cualquier aplicaci6n

       de pagos de cualquier suma de dinero perteneciente a la AUTORIDAD en poder del

       BANCO para el pago de la LINEA DE CREDITO e intereses acumulados, en caso de

       incumplimiento por la AUTORIDAD de sus obligaciones de pago bajo el CONTRATO

       DEPRESTAMO.

                                            ARTiCUL04.

                                 DISPOSICIONES MISCELANEAS

       4.1    Documentos Legales:

                     Segun utilizado en este CONTRATO DE PRESTAMO, el termmo
       DOCUMENTOS LEGALES significa:

                     1. PAGARE

                     2. CONTRATO DE PRESTAMO




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        4.2   Renundas, Alivios, Pr6rrogas, Tolerandas y Remedios Adicionales:

              Ninguna dilaci6n o demora por parte del BANCO o de cualquier tenedor o

        duefio del PAGARE en el ejercicio de cualquier derecho, facultad o remedio que

        pueda tener conforme a los terminos de cualquiera de los DOCUMENTOS LEGALES

        se considerara como una renuncia, limitaci6n o disminuci6n de los mismos, como

        tampoco el ejercicio parcial o exclusive de cualquiera de los mismos sera 6bice para

        que subsiguientemente sean ejercitados en su totalidad, induyendo, pero sin

        limitarse a ello, el derecho de compensaci6n. Los remedios a favor del BANCO

        dispuestos en los DOCUMENTOS LEGALES se consideraran adicionales a, y no

       exduyentes de, cualquier otro remedio contemplado en ley. Para que todo alivio,

       pr6rroga o tolerancia extendida por el BANCO a la AUTORIDAD, o cualquier

       enmienda a este CONTRATO DE PREST AMO, sea efectiva, debera constar por

       escrito, suscrito por un oficial autorizado del BANCO, que especificara el alcance del

       alivio, pr6rroga, tolerancia o enmienda concedida. Todo alivio, pr6rroga, tolerancia

       o enmienda concedida sera valida unicamente para 1a ocurrencia o eventualidad para

       la cual se concedi6.

       4.3    Direcdones para Notificaciones, etc.:

              Toda notificaci6n, redamo, directriz o cualquier comunicaci6n dispuesta por los

       DOCUMENTOS LEGALES constara por escrito y debera ser entregada personalmente

       o enviada por fax o por correo, a las siguientes direcciones:

              A LA AUTORIDAD":
                     II




              Autoridad de Carreteras y Transportaci6n
              Departamento de Transportaci6n y Obras Publicas

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                        P.O. Box 42007
                        San Juan, Puerto Rico 00940-2007
                        (787) 721-8787

                        Atenci6n: Director Ejecutivo
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                        AL BANCO":

                       Banco Gubemam ental de Fomento para Puerto Rico
                       P.O. Box 42001
                       San Juan, Puerto Rico 00940-2001
                       Fax: (787) 721-1443

                        Atenci6n: Presidente

                       o a cualquier otra direcci6n que las partes sefialen mediante notificaci6n escrita

                 cursada conforme a lo dispuesto en este Artlculo. Estas se consideraran perfeccionadas

                una vez las mismas se depositen debidamente franqueadas en el correo y sean cursadas

                a las direcciones mencionadas.

                4.4    Sucesores y Causahabientes:

                       Los pactos y clausulas aqui contenidas obligaran y beneficiaran a las partes y a

                sus respectivos causahabientes, albaceas, administradores, sucesores y cesionarios.

                4.5    Renundas por la AUTORID AD a Presentaci 6n, Protesto, etc.:

                       La AUTORIDAD renuncia a toda notificaci6n de aceptaci6n o demanda o

                requerimiento a la realizaci6n de cualquier condici6n precedente por parte del

                BANCO, y asf mismo renuncia a los derechos de presentaci6n, protesto, notificaci6n

                de protesto, requerimiento de pago, notificaci6n de incumplimiento o falta de pago,

                relevo, compromiso, compensaci6n, transacci6n, pr6rroga, renovaci6n o extension de

                cualquier derecho contractual o instrumen to legal y, en general, a toda otra

                formalidad legal.

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                 4.6         Dedaraci6n de Intend6n:

                             Este CONTRATO DE PRESTAMO se otorga como una declaraci6n oficial de

                 intenci6n bajo la regulaci6n del Departamento del Tesoro de los Estados Unidos,

                 Secci6n 1.150-2.


                             EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan este

                 CONTRATO DE PREST AMO en San Juan, Puerto Rico, a/ (p de enero de 2014.


                 BANCO GUBERNAMENTAL DE                          AUTORIDAD DE CARRETERAS Y
                 FOMENTO PARA PUERTO RICO                        TRANSPORTACION DE PUERTO RICO



                                                                      ~
                             ivilles Diaz                        Cesar M. Gandia
                   loo.t;~rctente Ejecutivo                      Director Ejecutivo Auxiliar para
                 y Agente Fiscal                                 Administraci6n y Finanzas



                 DEPARTAMENTO DE HACIENDA




                Melba Acosta Febo
                Secretaria

                Testimonio ff-F9'~[~)

                       Reconocido y suscrito ante mi por Cesar M. Gandiaga Texidor, Director
                Ejecutivo Auxiliar para Administraci6n y Finanzas de la Autoridad de Carreteras y
                Transportaci6n, quien es mayor de edad, casado, contable y vecino de San Juan,
                Puerto Rico, a quien conozco personalmente. En San Juan, Puerto Rico, a !fe__ de
                enero de 2014.
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             Reconocido y suscrito ante mi por Jorge A. Clivilles Diaz, mayor de edad,
       casado y vecino de San Juan, Puerto Rico, en su caracter de Vicepresidente Ejecutivo y
       Agente Fiscal del Banco Gubernamental de Fomento para Puerto Rico, a quien conozco
       personalmente. En San Juan, Puerto Rico, a / // de enero de 2014.




                                                  EXENTO DEL PAGO DE ARANCEL
                                                   LEY 47 DE 4 DE JUNIO DE 1982
       Testimonio .l9!/_

             Reconocido y suscrito ante mf por Melba Acosta Febo, mayor de edad, soltera, y
       vecina de San Juan, Puerto Rico, en su caracter como Secretaria del Del;artamento de
       Hacienda1 a quien conozco personalmente. En San Juan, Puerto Rico, a _ft__ de enero
       de 2014.




                                      EXENTO DEL PAGO DE ARANCEL
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                                                         LOAN AGREEMENT

                    THE FIRST PARTY: THE BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO

             RICO, public corporation of the Government of Puerto Rico, established pursuant to Law Number 17 of

             September 23, 1948, as amended, represented in this act by its Executive Vice President and Fiscal Agent, Jorge

             A. Clivillés Díaz, adult, married, with capacity and resident of San Juan, Puerto Rico (hereinafter, the “BANK”).

                    THE SECOND PARTY: The HIGHWAYS AND TRANSPORTATION AUTHORITY OF

             PUERTO RICO, a legal entity, established pursuant to Law No. 74 of June 23, 1965, as amended, (the

             “AUTHORITY”) represented in this act by César M. Gandiaga Texidor, Assistant Executive Director for

             Administration and Finances, who is an adult, married, an accountant and a resident of San Juan, Puerto Rico,

             and who is duly authorized to appear in this act pursuant to Resolution 2014-01 signed on January 16, 2013 by
[initials]




             Miguel A. Torres Díaz, Secretary of the Department of Transportation and Public Works.

                    THE THIRD PARTY: The DEPARTMENT OF THE TREASURY, an executive department

             established by Section 6 of Article IV of the Constitution of the Commonwealth of Puerto Rico, hereinafter

             referred to as “TREASURY”, represented by its Secretary, Melba Acosta Febo, adult, single, and a resident of

             San Juan, Puerto Rico, who appears for the sole purposes of indicating her knowledge of, and compliance with,

             that the funds for the payment of the CREDIT LINE




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             herein granted by the BANK to the AUTHORITY shall be transferred directly to the BANK.

             PREAMBLE

                    WHEREAS: The AUTHORITY has informed the BANK that, as of December 31, 2013, it

             owes the amount of $24,096,000 to the company Alternative Concepts, Inc., operator of the Tren

             Urbano [Urban Train]. The AUTHORITY is interested in obtaining financing in order to bear the

             operational expenses incurred for the operation of the Urban Train and to reduce that amount owed so

             that the services will not be interrupted.

                    WHEREAS: With attention to the request by the AUTHORITY, on January 15, 2014, the

             Board of Directors of the BANK approved Resolution No. 10235 (hereinafter, “Resolution 10235”)
[initials]




             in order to grant to the AUTHORITY non-revolving credit line up to a maximum of FIFTEEN

             MILLION DOLLARS ($15,000,000).

                    WHEREAS: In accordance with Resolution No. 2014-01 issued on January 16, 2014 by the

             Board of Directors of the AUTHORITY, the AUTHORITY accepted the terms and conditions

             established by the BANK in Resolution 10235.

                    THEREFORE, in consideration of the facts confirmed above and the representations, agreements and

             guarantees that are set forth below, the parties that appear approve and agree to grant this LOAN

             AGREEMENT.




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                                                             ARTICLE 1.

                                                                 LOAN

             1.1     Credit Line:

                     After the LEGAL DOCUMENTS referred to in Article 4.1 of this LOAN AGREEMENT are issued

             and signed, the BANK shall extend to the AUTHORITY a non-rotating CREDIT LINE for the maximum

             amount of principal of FIFTEEN MILLION DOLLARS ($15,000,000) to bear operational expenses for the

             operation of the Urban Train.

                     The CREDIT LINE shall be evidenced by a PROMISSORY NOTE for the principal sum of FIFTEEN

             MILLION DOLLARS ($15,000,000), signed on the same date that this LOAN AGREEMENT is signed and

             payable to the order of the BANK.

                     The money from the CREDIT LINE shall only be used for the purposes set forth above.

             1.2     Interest Rate:

                     The AUTHORITY approves and agrees to pay interest on the unpaid balance of principal of the

             CREDIT LINE calculated on the Prime Rate plus 150 basis points, which shall never be less than six percent
[initials]




             (6%), or higher than twelve percent (12%), or any other interest rate that the President of the BANK or his

             designee determines, according to the market interest rate. The interest shall be payable upon expiration of the

             CREDIT LINE.

                     If on the expiration date of the repayment obligation the AUTHORITY has not paid the unpaid balance

             of the principal, the AUTHORITY shall pay interest on such




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             sum computed on the basis of 200 basis points over the rate that would apply under this LOAN

             AGREEMENT.

             1.3     Term and Source of Payment:

                     The payment of principal and interest of CREDIT LINE shall expire on June 30, 2015. The BANK

             President may, at his full discretion, extend the expiration of the CREDIT LINE for 120 additional days.


                     The source of payment shall be (a) from July 1, 2014, the first $15,000,000 coming from the income

             generated by transit fines collected by the Department of the Treasury, plus the corresponding portion for the

             payment of accumulated interest, and (b) the income of the AUTHORITY.


                     The AUTHORITY may pay the full amount of the loan at any time before it expires with no penalty or
[initials]




             premium.


             1.4     Disbursements

                     Prior to the first disbursement and for each disbursement, the AUTHORITY shall deliver to the BANK

             an original certificate which is the same as Annex A of this Agreement, signed by the Executive Director of

             the AUTHORITY, or his designee, which shall be evidence that the disbursement request meet the purposes

             for with the CREDIT LINE was approved. The AUTHORITY shall include, in addition, any other

             documentation that the BANK in its full discretion requests from it prior to the disbursement, including, but not

             limited to, copies of invoices.




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                     The disbursements under this financing are subject to compliance by the AUTHORITY with the Fiscal

             Agency Area of the BANK for the conditions stipulated in the Fiscal Oversight Agreement (FOA) that the

             AUTHORITY may have in effect with the BANK.

             1.5     Assignment:

                     In order to honor the payment of the principal and interest of the CREDIT LINE, it is provided that the

             BANK shall be the assignee of the rights to the income generated from traffic fines collected by the Department

             of the Treasury up to the principal sum of $15,000,000, plus the sum corresponding to the accrued interest. For

             these purposes, TREASURY approves and agrees to transfer the sums indicated above directly to the BANK

             for the repayment of the financing.

                                                                 ARTICLE 2.
                                                      AFFIRMATIVE AGREEMENTS
                     The AUTHORITY approves and agrees to perform the acts set forth below beginning from this date

             and until the full payment and final settlement of the principal and interest of the CREDIT LINE and any other
[initials]




             obligation with respect to it, unless the BANK otherwise agrees in writing.


             2.1     Request for Additional Information to Make Disbursements:
                             The BANK reserves the right to request from the AUTHORITY any additional information

             that may be necessary to issue disbursements or for any purpose in relation to this CREDIT LINE or

             PROMISSORY NOTE.




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             2.2     Professional Fees for Financial Consulting Services:
                     The AUTHORITY approves and agrees to pay to the BANK the sum of Seven Thousand Five Hundred

             Dollars ($7,500), equivalent to one twentieth (1/20th) of one percent (1%), for professional fees corresponding

             to this transaction, according to the policy of the BANK in effect, which may be included as part of this financing,

             if necessary.


             2.3     Ground of Breach:


                     The AUTHORITY shall notify the BANK of any condition, fact or occurrence that may constitute a

             ground of breach or pursuant to the notification of which or the mere passage of time, or both, may constitute a

             ground of breach, by delivering to the BANK a certification signed by one of its officials, specifying the nature

             of such ground, the time during which it has existed, and what course of action the AUTHORITY proposes to

             initiate with respect to them. Such notification shall be sent to the BANK within ten (10) days after the occurrence

             of the breach.
[initials]




             2.4     Payment for Extrajudicial Actions for Collection, Fees, Expenses, etc.:


                     At the request of the BANK, the AUTHORITY shall promptly reimburse the BANK for the payment of

             costs, expenses and attorney’s fees incurred by the BANK in extrajudicial collection actions of any late

             instalment in relation to the CREDIT LINE owed by the AUTHORITY. The failure by the AUTHORITY to

             reimburse such costs, expenses and attorney’s fees shall constitute a ground of breach on the CREDIT LINE.




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                    Such costs, expenses and attorney’s fees incurred by the BANK in accordance with the provisions of

             this LOAN AGREEMENT shall be reimbursed by the AUTHORITY immediately upon request.


             2.5    Breach under the Legal Documents:

                    The AUTHORITY agrees that any breach of the terms of the PROMISSORY NOTE and/or the

             obligation letter, shall be deemed to be at the same time a breach of this LOAN AGREEMENT and vice versa,

             and if such breach occurs, the BANK shall immediately have the right to enforce any of the rights and

             privileges that may be conferred by any of the LEGAL DOCUMENTS.

             2.6    Authorization to Take Collateral:

                    The AUTHORITY has taken the appropriate and necessary measures, official or of another type, to

             authorize the issuance and delivery of the LEGAL DOCUMENTS without any limitation.




                                                          ARTICLE 3.


                                                          BREACHES
[initials]




             3.1    Grounds of Breach:


                    Each of the following shall constitute a ground of breach under the terms of this LOAN

             AGREEMENT:


                      3.1.1 if any representation given or extended by the AUTHORITY to the BANK in any of the

                    procedures and LEGAL DOCUMENTS or if any report, guarantee or financial certificate or any other

                    type of document provided to the BANK in relation to this LOAN AGREEMENT is found to be false

                    or misleading;




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                     3.1.2   failure to pay principal and interest and their penalties, if any, of the CREDIT LINE on their

                             due date in accordance with the terms of any of the LEGAL DOCUMENTS;


                     3.1.3   breach or violation by the AUTHORITY of any of the terms, clauses and conditions agreed

                             to with the BANK in the LEGAL DOCUMENTS; or


                     3.1.4   the failure by the AUTHORITY to remedy or cure within a time period of thirty (30) days

                             from its occurrence, without prior written notice by the BANK, any breach of the terms,

                             clauses and conditions of this LOAN AGREEMENT. This does not apply to the terms and

                             conditions related to the obligations to pay the LOAN AGREEMENT, since the

                             AUTHORITY shall strictly comply with such payment when it is due.


             3.2     Remedies:
[initials]




                     When any of the grounds of breach listed in Article 3.1 of this LOAN AGREEMENT occurs, and if

             such breach is not cured or remedied as provided, without any need to send any notice of breach, the rights to

             which the AUTHORITY hereby waives the granting, the BANK may:


                     3.2.1   proceed to claim the payment of the unpaid balance of the CREDIT LINE; or




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                    3.2.2   file a court proceeding requesting the specific performance of any term, clause or condition of

                            any of the LEGAL DOCUMENTS, or a temporary or permanent injunction to prevent the

                            AUTHORITY from violating any such terms, clauses or conditions; or


                    3.2.3   to enforce any other remedy to which it has a right under the laws of the Commonwealth of

                            Puerto Rico.


                    The AUTHORITY authorizes the BANK and grants it authorization, without any requirement of notice,

             to apply the right to set-off against the obligations that arise in this LOAN AGREEMENT, making any

             application of payments of any sum of money owned by the AUTHORITY in the possession of the

             AUTHORITY for the payment of the CREDIT LINE and accumulated interest, in the event of any breach by

             the AUTHORITY of its payment obligations under the LOAN AGREEMENT.




                                                            ARTICLE 4.
[initials]




                                                MISCELLANEOUS PROVISIONS


             4.1    Legal Documents:


                    As used in this LOAN AGREEMENT, the term LEGAL DOCUMENTS means:


                            1. PROMISSORY NOTE


                            2. LOAN AGREEMENT




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             4.2     Waivers, Relief, Extensions, Forbearance and Additional Remedies:


                     No delay or late performance by the BANK or by any holder or owner of the PROMISSORY NOTE in

             the enforcement of any right, authority or remedy that it may have in accordance with the terms of any of the

             LEGAL DOCUMENTS shall be deemed to be a waiver, limitation or reduction of such rights, authorities or

             remedies, and the partial or exclusive enforcement of any of them shall not be an impediment for them to

             subsequently be fully enforced, including, but not limited to, the right to offset. Remedies in favor of the BANK

             provided in the LEGAL DOCUMENTS shall be deemed to be in addition to, any not to exclude, any other remedy

             set forth in law. For any relief, extension or forbearance extended by the BANK to the AUTHORITY, or any

             amendment to this LOAN AGREEMENT to be enforceable, it shall appear in writing signed by an authorized

             official of the BANK, which shall specifically state the scope of the relief, extension, forbearance or amendment

             granted. Any relief, extension, forbearance or amendment granted shall be valid only for the occurrence or
[initials]




             potential occurrence for which it was granted.


             4.3     Addresses for Notices, etc.:

                     Any notice, claim, directive or other communication provided by the LEGAL DOCUMENTS shall be

             recorded in writing and shall be delivered in person or sent by fax or mail to the following addresses:

                     TO THE “AUTHORITY”:


                     Highways and Transportation Authority
                     Department of Transportation and Public Works




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                     P.O. Box 42007
                     San Juan, Puerto Rico 00940-2007
                     (787) 721-8787

                     Attention: Executive Director

                     TO THE “BANK”:

                     Banco Gubernamental de Fomento para Puerto Rico
                     P.O. Box 42001
                     San Juan, Puerto Rico 00940-2001
                     Fax: (787) 721-1443

                     Attention: President

                     or to any other address that the parties indicate by written notice sent in accordance with the provisions

             in this Article. These shall be deemed to be perfected after they have been duly deposited postmarked in the mail

             and sent to the addresses stated.

             4.4     Successors and Beneficiaries:

                     The agreements and clauses contained herein shall obligate and benefit the parties and their respective

             beneficiaries, executors, administrators, successors and assignees.
[initials]




             4.5     Waivers by the AUTHORITY of Presentation, Protest, etc.:

                     The AUTHORITY waives any notice of acceptance or demand or requirement to meet any condition

             precedent by the BANK, as well as waiver of rights of presentation, protest, notice of protest, payment request,

             notice of breach or failure to pay, release, compromise, set-off, settlement, extension, renewal or extension of

             any contractual right or legal instrument and, in general, any other legal formality.




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             4.6     Statement of Intent

                     This LOAN AGREEMENT is granted as an official statement of intent under the regulation of the

             Department of the Treasury of the United States, Section 1.150-2.



                                                   [SIGNATURE PAGE BELOW]



                     IN WITNESS WHEREOF, the parties who appear grant this LOAN AGREEMENT, in San Juan,

             Puerto Rico, on January [hw:] 16, 2014.

              BANCO GUBERNAMENTAL DE                                 HIGHWAYS AND TRANSPORTATION
              FOMENTO PARA PUERTO RICO                               AUTHORITY OF PUERTO RICO

                      [signature]                                            [signature]
              Jorge A. Clivillés Díaz                                César M. Gandiaga Texidor
              Executive Vice President                               Assistant Executive Director for
              and Fiscal Agent                                       Administration and Finances


              DEPARTMENT OF TREASURY

                      [signature]
              Melba Acosta Febo
[initials]




              Secretary

             Statement [hw:] 896 ([initials])

                     Acknowledged and signed before me by César M. Gandiaga Texidor, Assistant Executive Director for
             Administration and Finances of the Highways and Transportation Authority, who is an adult, married, accountant
             and resident of San Juan, Puerto Rico, whom I know personally. In San Juan, Puerto Rico, on January [hw:] 16,
             2014.
              [stamp:]
              MARGUILEÁN
              RIVERA AMILL              EXEMPT FOR PAYMENT OF STAMP TAX
              ATTORNEY-NOTARY           LAW 47 OF JUNE 4, 1982                                  [signature]
                                                                                                Public Notary
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             Statement [hw:] 898

                    Acknowledged and signed before me by Jorge A. Clivillés Díaz, adult, married and resident of San Juan,
             Puerto Rico, in his capacity as Executive Vice President and Fiscal Agent of the Banco Gubernamental de
             Fomento para Puerto Rico, whom I know personally. In San Juan, Puerto Rico, on January [hw:] 16, 2014.
              [stamp:]
              MARGUILEÁN
              RIVERA AMILL              EXEMPT FOR PAYMENT OF STAMP TAX
              ATTORNEY-NOTARY           LAW 47 OF JUNE 4, 1982                                 [signature]
                                                                                               Public Notary

             Statement [hw:] 899

                     Acknowledged and signed before me by Melba Acosta Febo, adult, single, and resident of San Juan,
             Puerto Rico, in her capacity as Secretary of the Department of Treasury, whom I know personally. In San Juan,
             Puerto Rico, on January [hw:] 16, 2014.
              [stamp:]
              MARGUILEÁN
              RIVERA AMILL               EXEMPT FOR PAYMENT OF STAMP TAX
              ATTORNEY-NOTARY            LAW 47 OF JUNE 4, 1982                                 [signature]
                                                                                                Public Notary
[initials]




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ELECTRONIC FILE NAME:                 January 16, 2014 agreement


SOURCE LANGUAGE:                      Spanish
TARGET LANGUAGE:                      English
TRANSPERFECT JOB ID:                  US1061278

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